FEDERAL MEDIATION PROGRAM
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

MEDIATOR'S REPORT TO THE COURT
MEDIATOR: U.S. Magistrate Christopher Steger

 

900 Georgia Avenue

 

Chattanooga, TN 37402

 

CASE NAME & NUMBER: 3:16-cv-121 Cosby v. Miller et al (TV2)

 

Local Rule 16.4(m) requires that mediators file this report with the clerk within five (5) days of each mediation
conference. Please answer the questions set out below and file this form electronically in CM/ECF using the Report of
Mediation event (located under “ADR Documents’). If you are not a CM/ECF User, please file the form in the clerk's office
in the division in which the case is pending. If multiple mediation conferences’ occur, file a form after each conference
within five (5) days of the conference..

‘L. Did all parties, party representatives and/or claims professionals meet the attendance authority to
negotiate requirements of L.R. 16.4(1)?
__ ves _ CN
2. Did the case settle?
YES NO
3. Is mediation to be conducted at a later date?
YES wv NO
4. Was mediation terminated without settlement?
YES

Gas

Signature of Certified Meditor

 

Date: Dee le 6, 2e7_\

 

(Rev. 6/06)

 

* A mediation conference which continues over multiple days is considered one conference for

purposes of this reporting requirement. Send in separate reports only when the conference is recessed for
a week or more.

? If you answer "no," the clerk will forward a copy of this report to a Magistrate Judge not
assigned to the case who will contact you to investigate the problem.

Case 3:16-cv-00121-TAV-DCP Document 232 Filed 12/07/21 Page 1of1 PagelD #: 21086
